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 3
                         UNITED STATES DISTRICT COURT
 4
                      SOUTHERN DISTRICT OF CALIFORNIA
 5

 6
     ANTHONY RIGGIO, an individual,           CASE NO.: 15-cv-1289-BTM-JMA
 7

 8                                            ORDER GRANTING JOINT
     Plaintiff,
 9                                            MOTION TO DISMISS
                                              COMPLAINT
10
     v.

11   CALIFORNIA BUSINESS
12
     BUREAU, INC., a California
     corporation and DOES 1 through 10.
13

14
     Defendants.
15

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17
           The Court GRANTS the parties’ joint motion to dismiss the Complaint. This
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     action is DISMISSED WITH PREJUDICE, with each party to bear his or its own
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     attorney’s fees and costs.
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22   IT IS SO ORDERED.

23   Dated: September 15, 2015
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                                  JOINT MOTION FOR DIMISSAL
